Attorneys for Plaintiff:

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Attorneys for Defendant:

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                   UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

PACE-O-MATIC, INC.,                 )
                                    )   No. 1:20-CV-292
      v.                            )
                                    )
ECKERT, SEAMANS, CHERIN             )   JUDGE WILSON
& MELLOTT, LLC,                     )
                                    )


                     JOINT CASE MANAGEMENT PLAN

      Having complied with the meet and confer requirements set forth in the
LOCAL RULES, or with any orders specifically modifying their application in the
above-captioned matter, the parties hereby submit the following Joint Case
Management Plan.
1. Principal Issues

     1.1   Separately for each party, please give a statement summarizing this
           case:

           By plaintiff(s):

           Plaintiff Pace-O-Matic, Inc. (“POM”) develops, produces and licenses
           legally compliant electronic games of skill which have been sold in
           Pennsylvania and elsewhere. In 2011, POM retained Defendant
           Eckert, Seamans, Cherin & Mellott, LLC (“Eckert”) to provide legal
           services in relation to distribution of its “Palmetto Gold” skill game in
           Pennsylvania. In 2016, POM and Eckert entered into a second
           engagement letter pursuant to which Eckert agreed to provide legal
           services in relation to legal, regulatory and legislative matters in
           Virginia concerning sales and marketing of POM’s skill games. In
           furtherance of the requested legal services and in reliance on Eckert’s
           duties of undivided loyalty and confidentiality, POM provided Eckert
           with highly sensitive, proprietary and confidential information
           concerning its skill games and business operations and participated
           with Eckert in confidential and privileged discussions concerning, inter
           alia, the development of legal strategies to preserve and defend the
           legality of those games.

           Unbeknownst to POM, while Eckert possessed confidential
           information concerning POM’s games and participated in privileged
           communications with POM personnel concerning legal matters relating
           to those same games, Eckert was simultaneously representing one of
           Pennsylvania’s casinos, Parx Casino, in preparing to challenge the
           legality of POM’s games in Pennsylvania. In the fall and early winter
           of 2019, Eckert filed actions on behalf of Parx Casino in Pennsylvania
           state courts against nearly two dozen smoke shops, convenience stores
           and other establishments that offer POM skill games. Eckert, acting
           on behalf of Parx Casino, is seeking in those actions a judicial
           declaration that skill games constitute a public nuisance. In late 2019,
           Eckert openly attacked POM and its skill games in the context of those
           actions, falsely alleging that POM “deceptively market[s] these games
           as ‘legal,’ when, in fact, they are not.”
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Eckert’s simultaneous representation of POM and Parx Casino while
attacking POM on behalf of Parx Casino is a plain breach of the duty of
undivided loyalty which Eckert owes to POM. When POM
confronted Eckert with its conflict, Eckert dropped POM like a “hot
potato” on January 29, 2020 in favor of its more lucrative relationship
with Parx Casino.

POM seeks injunctive and other relief for Eckert’s breach of fiduciary
duty. Among other things, POM is entitled to disgorgement of fees
paid to Eckert and an injunction barring Eckert from continuing to
represent Parx Casino in matters adverse to POM.

By defendant(s):

POM approached Eckert in 2011 about representing POM in
Pennsylvania concerning the proposed distribution of one of its games,
“Palmetto Gold.” After making several inquiries and doing some
limited investigation, Eckert advised POM that it could not represent
POM. Eckert returned the balance of the retainer provided.

In 2016, POM approached Eckert about representing POM in
Virginia. POM agreed to a prospective waiver. Further, Eckert
agreed to represent POM on the condition that POM had no objection
to POM’s prior and pre-existing representation of gaming clients in
Pennsylvania. POM agreed, and Eckert undertook the
representation. An ethical screen was put in place between the
attorneys representing Eckert’s gaming clients in Pennsylvania and the
lawyers representing POM in Virginia. There was no sharing of any
confidential or other proprietary information for any of the clients by
their respective attorneys subject to the ethical screen.

Represented by counsel other than Eckert, POM filed a Petition for
Review in the Commonwealth Court of Pennsylvania concerning the
legal status of its games in Pennsylvania. Eckert is not involved in that
case.




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      In October 2019, POM raised concerns about positions that Eckert was
      taking in litigation in which POM was not a party but where POM
      alleges an interest in the outcome of the case. The cases at issue are
      pending in Bucks County and Montgomery County, Pennsylvania.
      POM sought a stay of those cases pending the outcome of its case in the
      Commonwealth Court and, to date, all of the Bucks County cases are
      stayed. Ultimately, POM demanded that Eckert withdraw from its
      representation of its Pennsylvania gaming clients. As that condition
      could not be met, and POM refused to acknowledge its prior waiver of
      the potential conflict that it was then asserting in connection with
      Eckert’s representation of its gaming clients in Pennsylvania, Eckert
      was left with no alternative but to withdraw from its representation of
      POM in Virginia.

      Eckert is not representing a client that is directly adverse to POM in
      Pennsylvania. Eckert did not drop POM like a “hot potato” as Eckert’s
      representation of its gaming client predated any representation of
      POM. Eckert did not disclose any confidential information or
      otherwise breach any duties owed to POM.

      There is no basis for injunctive relief or any of the damages that POM is
      seeking.

1.2   The facts the parties dispute are as follows:

      1.21 Whether, while still representing POM, Eckert challenged the
           legality of POM’s skill games on behalf of Parx Casino.
      1.22 Whether Eckert, on behalf of Parx Casino, advocated in
           Pennsylvania state court actions that POM “deceptively
           market[s] [its skill] games as ‘legal,’ when, in fact, they are not.”
      1.23 Whether Eckert ever disclosed to POM that it had been engaged
           by Parx Casino to challenge the legality of POM’s skill games.
      1.24 Whether Eckert withdrew from the representation of POM on
           January 29, 2020 after POM allegedly demanded that Eckert
           withdraw from its representation of its Pennsylvania gaming
           clients and refused to acknowledge an alleged waiver of any
           potential conflict.

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      1.25 Whether Eckert continues to represent Parx Casino in matters
           adverse to POM relating to the legality of POM skill games.
      1.26 Whether, as of the date of Eckert’s withdrawal as counsel for
           POM, Eckert represented POM only with respect to the sale of
           its products in Virginia.

      agree upon are as follows:

      1.27 In December 2016, POM engaged Eckert to provide legal
           services concerning matters in Virginia relating to the sales and
           marketing of its electronics and software.
      1.28 The partner in charge of the POM relationship at Eckert from
           December 2016 to September 2018 was Thomas A. Lisk.
      1.29 POM paid Eckert more than $700,000.00 in legal fees.

1.3   The legal issues the parties dispute are as follows:

      1.31   Whether Eckert breached a fiduciary duty to POM.
      1.32   Whether Eckert violated its duty of confidentiality to POM.
      1.33   Whether Eckert violated its duty of loyalty to POM.
      1.34   Whether POM is entitled to any disgorgement of legal fees.
      1.35   Whether POM agreed to Eckert’s alleged condition of
             representation that it waive any conflict of interest with respect
             to Eckert’s representation of gaming clients in Pennsylvania and
             whether any such alleged waiver is valid.

      agree upon are as follows:

      1.36 Eckert owes a duty of undivided loyalty to POM.
      1.37 Eckert owes a duty of confidentiality to POM.

1.4   Identify any unresolved issues as to service of process, personal
      jurisdiction, subject matter jurisdiction, or venue:

      Per the Court’s request, the parties will brief the issue concerning
      subject matter jurisdiction.


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      1.5   Identify any named parties that have not yet been served:

            None.

      1.6   Identify any additional parties that:

            plaintiff(s) intends to join: None at this time.

            defendant(s) intends to join:

      1.7   Identify any additional claims that:

            plaintiff(s) intends to add: None at this time.

            defendant(s) intends to add:

2.0   Disclosures

      The undersigned counsel certify that they have made the initial disclosures
      required by Federal Rule of Civil Procedure 26(a)(1) or that they will do so
      within the time provided by that rule.

      2.1   Separately for each party, list by name and title/position each person
            whose identity has been disclosed.

            Disclosed by Plaintiff:

                        Name                        Title/Position

                        B. Greg Cline               General Counsel,
                                                    Pace-O-Matic, Inc.

                        Thomas A. Lisk              Former Member, Eckert,
                                                    Seamans, Cherin & Mellott,
                                                    LLC




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            Disclosed by Defendant:

                         Name                       Title/Position

                         Mark Stewart               Co-Chair of Gaming Practice,
                                                    Eckert, Seamans, Cherin &
                                                    Mellott, LLC

                         Anthony F. Troy            Member, Eckert, Seamans,
                                                    Cherin & Mellott, LLC

                         Timothy S. Coon            Chief Legal Officer, Eckert,
                                                    Seamans, Cherin & Mellott,
                                                    LLC

                         Matthew B. Kirsner         Member, Eckert, Seamans,
                                                    Cherin & Mellott, LLC

                         David J. Mayernik          Member, Eckert, Seamans,
                                                    Cherin & Mellott, LLC
3.0   Early Motions

      Identify any motion(s) whose early resolution would likely have a significant
      effect either on the scope of discovery or other aspects of the litigation:

      Nature of Motion                  Moving Party      Anticipated Filing Date

      Motion for Prelim. Inj.           Plaintiff         March 10, 2020

4.0   Discovery

      4.1   Briefly describe any discovery that has been completed or is in
            progress:

            By plaintiff(s):

            By defendant(s):

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4.2   Describe any discovery that all parties agree should be conducted,
      indicating for each discovery undertaking its purpose or what kinds of
      information will be developed through it (e.g., "plaintiff will depose
      Mr. Jones, defendant's controller, to learn what defendant's revenue
      recognition policies were and how they were applied to the kinds of
      contracts in this case"):

      POM will serve written discovery requests and will depose Eckert
      personnel and other persons with relevant knowledge, including a
      30(b)(6) designate of Eckert. POM will also serve third-party
      subpoenas to obtain relevant documents.

      Eckert will send written discovery requests and conduct depositions.
      Eckert may also send third-party subpoenas.

4.3   Describe any discovery that one or more parties want(s) to conduct but
      to which another party objects, indicating for each such discovery
      undertaking its purpose or what kinds of information would be
      developed through it:

4.4   Identify any subject area limitations on discovery that one or more
      parties would like imposed, at the first stage of or throughout the
      litigation:

4.5   For each of the following discovery tools, recommend the per-party or
      per-side limitation (specify a number) that should be fixed, subject to
      later modification by stipulation or court order on an appropriate
      showing (where the parties cannot agree, set forth separately the limits
      recommended by plaintiff(s) and by defendant(s)):

      4.5.1 depositions (excluding experts) to be taken by:

            plaintiff(s): 7                  defendant(s):    7

      4.5.2 interrogatories to be served by:
            plaintiff(s): 25                 defendant(s): 25


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            4.5.3 document production requests to be served by:

                   plaintiff(s):   25                defendant(s):    25

            4.5.4 requests for admission to be served by:

                   plaintiff(s): 25                  defendant(s): 25

      4.6   Discovery of Electronically Stored Information

            X Counsel certify that they have conferred about the matters addressed
            in M.D. Pa LR 26.1 and that they are in agreement about how those
            matters will be addressed in discovery.

             Counsel certify that they have conferred about the matters addressed
            in M.D. Pa. LR 26.1 and that they are in agreement about how those
            matters will be addressed in discovery with the following exceptions:

5.0   Protective Order

      5.1   If entry of a protective order is sought, attach to this statement a copy of
            the proposed order. Include a statement justifying the propriety of
            such a protective order under existing Third Circuit precedent.

            Both parties may request an appropriate protective order as the matter
            progresses.

      5.2   If there is a dispute about whether a protective order should be entered,
            or about certain terms of the proposed order, briefly summarize each
            party's position below:

6.0   Scheduling

      6.1   Final date for joining additional parties:

            July 1, 2020       Plaintiff(s)

            July 1, 2020       Defendants(s)
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6.2   Final date for amending pleadings:

      July 1, 2020          Plaintiff(s)

      July 1, 2020          Defendants(s)

6.3   All fact discovery commenced in time to be completed by:

      October 30, 2020

6.4   All potentially dispositive motions should be filed by: November 30, 2020

6.5   Reports from retained experts due:

      from plaintiff(s) by November 30, 2020

      from defendant(s) by January 1, 2021

6.6   Supplementations due       January 15, 2021

6.7   All expert discovery commenced in time to be completed by February
      12, 2021

6.8   This case may be appropriate for trial in approximately:

             240 Days from the filing of the action in this court

             365 Days from the filing of the action in this court

      425 Days from the filing of the action in this court

6.9   Suggested Date for the final Pretrial Conference:

       April 11, 2021

6.10 Trial

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      6.10.1 Suggested Date for Trial:

              May 2021

7.0   Certification of Settlement Authority (All Parties Shall Complete the
      Certification)

      I hereby certify that the following individual(s) have settlement authority.

      B. Greg Cline
      General Counsel, Pace-O-Matic, Inc.
      c/o Myers, Brier & Kelly LLP
      425 Spruce Street, Suite 200
      Scranton, PA 18507
      (570) 342-6100

      Timothy S. Coon
      Chief Legal Officer
      Eckert, Seamans, Cherin & Mellott, LLC
      c/o Fox Rothschild LLP
      2000 Market Street, 20th Floor
      Philadelphia, PA 19103-3222

8.0   Alternative Dispute Resolution ("ADR")

      8.1   Identify any ADR procedure to which this case already has been
            assigned or which the parties have agreed to use.

            ADR procedure N/A
            Date ADR to be commenced
            Date ADR to be completed

      8.2   If the parties have been unable to agree on an ADR procedure, but one
            or more parties believe that the case is appropriate for such a procedure,
            identify the party or parties that recommend ADR and the specific
            ADR process recommended:


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      8.3   If all parties share the view that no ADR procedure should be used in
            this case, set forth the basis for that view:

9.0   Consent to Jurisdiction by a Magistrate Judge

      Indicate whether all parties agree, pursuant to 28 U.S.C. ' 636(c)(1), to have a
      magistrate judge preside as the judge of the case with appeal lying to the
      United States Court of Appeals for the Third Circuit:

      All parties agree to jurisdiction by a magistrate judge of this court:     Y X N

      If parties agree to proceed before a magistrate judge, please indicate below
      which location is desired for the proceedings:

                         Scranton/Wilkes-Barre
                         Harrisburg
                         Williamsport

10.0 Other Matters

      Make any other suggestions for the case development process, settlement, or
      trial that may be useful or necessary to the efficient and just resolution of the
      dispute.


11.0 Identification of Counsel

      Counsel shall be registered users of the court=s Electronic Case Files System
      (ECF) and shall file documents electronically in accordance with the Local
      Rules of Court and the Standing Order RE: Electronic Case Filing Policies
      and Procedures. Electronic filing is required unless good cause is shown to
      the Chief Judge why counsel cannot comply with this policy. Any request
      for waiver of electronic filing must be filed with the Clerk=s Office prior to the
      case management conference. The Chief Judge may grant or deny such
      request.

      Identify by name, address, and telephone number lead counsel for each
      party. Also please indicate ECF User status below.
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Dated:                   s/ Daniel T. Brier
                         Attorney(s) for Plaintiff(s)
                  X      ECF User(s)
                  G      Waiver requested (as separate document)
                  G      Fed.R.Civ.P.7.1 (statement filed if necessary)*

Dated:                   s/ Robert S. Tintner
                         Attorneys(s) for Defendant(s)
                  X      ECF User(s)
                  G      Waiver requested (as separate document)
                  G      Fed.R.Civ.P.7.1 (statement filed if necessary)*

* Fed.R.Civ.P.7.1 requires a nongovernmental corporate party to file a statement
with the initial pleading, first entry of appearance, etc., that identifies any parent
corporation and any publicly held corporation that owns 10% or more of its stock, or
state there is no such corporation.




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